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EXHIBIT A
File: Erin Energy Cash Forecast Template - DIP Loan - restart oyo7                            Case 18-32106 Document 28-1 Filed in TXSB on 05/04/18 Page 2 of 3
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   Erin Energy - 13 Week Cash Forecast
   Summary Forecast ($)

    CASH RECEIPTS AND DISBURSEMENTS                                     WEEK #1         WEEK #2            WEEK #3
     Beginning of Week                                                 4/30/2018        5/7/2018          5/14/2018
     End of Week                                                        5/4/2018       5/11/2018          5/18/2018
    CASH, BEGINNING OF WEEK                                          $           -   $           -      $      397,420

    RECEIPTS
     Crude Oil -                                                     $           -   $           -      $          -
     Crude Oil - Pre Petition                                                    -               -                 -
     Revenue 3                                                                   -               -                 -
     Revenue 4                                                                   -               -                 -
     Revenue 5                                                                   -               -                 -
     Revenue 6                                                                   -               -                 -
    TOTAL RECEIPTS                                                   $           -   $           -      $          -

    DISBURSEMENTS

      DIRECT OPERATING DISBURSEMENTS
       Workover expenses                                             $           -   $           -      $          -
       Well Operations                                                           -               -                 -
       FPSO Vessel Charter Expense                                               -               -                 -
       Royalty Payments                                                          -               -                 -
      TOTAL DIRECT OPERATING DISBURSEMENTS                           $           -   $           -      $          -

      SG&A DISBURSEMENTS
       Misc                                                          $           -   $       15,000 $           20,000
       Payroll                                                                   -          208,058                -
       Benefits                                                                  -           35,000                -
       Rents & Utilities                                                         -           36,900              6,000
       Accounting Services                                                       -            4,500             26,500
       IT Services                                                               -            8,000              2,000
       Registration & Franchise Taxes                                            -              -                  -
       Insurance Expenses                                                        -        1,600,000                -
      TOTAL SG&A DISBURSEMENTS                                       $           -   $    1,907,458 $           54,500

      RESTRUCTURING ADVISORS
       Financial Advisors                                            $           -   $           -      $          -
       Legal Counsel                                                             -               -                 -
       Unsecured Credit Committee                                                -               -                 -
       Trustee Fees                                                              -               -                 -
      TOTAL RESTRUCTURING ADVISORS                                   $           -   $           -      $          -

      CAPEX DISBURSEMENTS
       CapEx 1                                                       $           -   $           -      $          -
       CapEx 2                                                                   -               -                 -
      TOTAL CAPEX DISBURSEMENTS                                      $           -   $           -      $          -

      OTHER DISBURSEMENTS
       Asset Protection Payments                                     $           -   $      280,122 $              -
       Misc                                                                      -           15,000             15,000
       Other 3                                                                   -              -                  -
      TOTAL OTHER DISBURSEMENTS                                      $           -   $      295,122 $           15,000

    TOTAL DISBURSEMENTS                                              $           -   $    2,202,580 $           69,500

    NET CASH FLOW                                                    $           -   $    (2,202,580) $        (69,500)

    CASH BEFORE BORROWING                                            $           -   $    (2,202,580) $        327,920

      Interest Payments & Loan Fees                                  $           -   $           -      $          -

      Loan Draws
       DIP Facility                                                              -        2,600,000                -
      Total Loan Draws                                               $           -   $    2,600,000 $              -

      Loan Repayments
       DIP Facility                                                              -               -                 -
      Total Loan Repayments                                          $           -   $           -      $          -

    CASH, END OF WEEK                                                $           -   $      397,420 $          327,920

    CASH SUMMARY
     CASH COLLECTED                                                              -               -                 -
     CASH DISBURSED                                                              -        (2,202,580)          (69,500)
    NET CASH                                                                     -        (2,202,580)          (69,500)
    CUMULATIVE CASH FROM OPERATIONS                                              -        (2,202,580)       (2,272,080)

    CUMULATIVE BORROWING                                                         -        2,600,000          2,600,000




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   Erin Energy - 13 Week Cash Forecast
   Other Disbursements ($)

                                                                      WEEK #1          WEEK #2           WEEK #3
                                                                     4/30/2018         5/7/2018         5/14/2018
                                                                      5/4/2018        5/11/2018         5/18/2018

      Asset Protection Payments
       The Gambia Tax Authority                                                   $        80,000 $             -
       Permitting Nigeria
       Joint Interest Billing - Gambia                                            $       182,622
       Ghana training tax obligation
       Ghana Surface rental
       Payce Consulting                                                                    17,500               -
      Total Asset Protection Payments                           $            -    $       280,122 $             -

      Misc
       Other Misc                                                                 $        15,000 $          15,000
       ---                                                                   -                -                 -
      Total Misc                                                $            -    $        15,000 $          15,000

      Other 3
       ---                                                      $            -    $           -     $           -
       ---                                                                   -                -                 -
      Total Other 3                                             $            -    $           -     $           -

      TOTAL OTHER DISBURSEMENTS                                 $            -    $       295,122 $          15,000




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